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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,

         Plaintiffs,                                           Case No.: 1:18-cv-07299

v.                                                             Judge John Robert Blakey

THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Jeffrey T. Gilbert
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.

                              SATISFACTION OF JUDGMENT

         WHEREAS, a judgment was entered in the above action on January 9, 2019 [55], in

favor of Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendants:

                NO.                                 DEFENDANT
                537                                   liyungfeng

         THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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